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               }))                                                     AmerisourceBergen Corporation
                                                                       Corporate Security & Regulatory Affairs
                                                                       1300 Morris Drive
        AmerisourceBergen                                              Chesterbrook, PA 19087-5594




        MEMORANDUM


        TO:             Chris Zimmerman
        FROM:           Ed Hazewski, Kevin Kreutzer, Joseph Tomkiewicz
        DATE:           January 19, 2009
        SUBJECT:        RVP Talking Points


        Background information:

        Retail Small - Total monthly dollar volume < $100 K.
        Retail Medium - Total monthly dollar volume $100K - $249,999.
        Retail Large - Total monthly dollar volume > $250K.

        Current default thresholds for OX and HY:

                                                 ox                                         HY
        Small                                  12,366                                     18,480
        Medium                                 24,732                                     39,960
        Lar,:?;e                               37,098                                     55,440

         Category of customers:

            1. Low dollar volume and low ratio of CS.
            2. High dollar volume and low ratio of CS.
            3. Low dollar volume ( < $100K) and high ( > 30%) ratio of CS. The average retail
               customer in our customer base has a CS ratio of about 12%.
            4. High dollar volume and high ratio of CS.

         Suggestions:

            1. Customers in this category are likely to be newly established accounts. We will consider
               raising thresholds within reason with the assumption that their total monthly dollar
               volume rises along with their volume. It will be the responsibility of the ACM to notify
               CSRA when their total monthly dollar volume exceeds $100K.
            2. Customers in this category are generally not a concern. Thresholds can be raised once
               justification is provided.
            3. Division managers should first make a business decision on whether to continue to
               service the account. Thresholds will remain firm. No orders surpassing the threshold
               will be released and no thresholds will be raised unless there is a change in the


                                                              PLAINTIFFS TRIAL
                                                                  EXHIBIT

                                                            P-00432_00001
CONFIDENTIAL                                                                                     ABC-MSAGC00000 169
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    ABDCMDL00000 169
                                                                                                                 P-00432 _ 00001
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              customer's total monthly dollar volume. It will be the responsibility of the ACM to
              notify CSRA when their total monthly dollar volume exceeds $100K.
           4. Thresholds will remain firm for the appropriate customer size. No orders surpassing
              the threshold will be released and no thresholds will be changed unless there is a change
              in the customer's ratio of CS.

        Miscellaneous:

           •   Metastorm calculates usage on dosage units ordered. In Orlando the units shipped are
               generally much lower than the units ordered due to inventory issues. This proposal
               could help ease the inventory issue since the total going out should be less.
           •   If this is acceptable, we will undertake a review of the top 25 purchasers of HY and OX
               and adjust thresholds accordingly to bring those accounts more in line with the
               proposal.




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